               IN THE UNITED STATES COURT OF APPEALS
                       FOR THE EIGHTH CIRCUIT


                                CASE NO. 13-1176


                        UNITED STATES OF AMERICA,

                                               Plaintiff-Appellee,

                                         vs.

                               DENNYS RODRIGUEZ,

                                               Defendant-Appellant.


                               BRIEF OF APPELLEE


            APPEAL FROM THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

         The Honorable Joseph F. Bataillon, United States District Court

UNITED STATES OF AMERICA,
Plaintiff-Appellee

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   Appellate Case: 13-1176     Page: 1   Date Filed: 06/07/2013 Entry ID: 4043447
                           SUMMARY OF THE CASE

      Dennys Rodriguez (hereinafter “Rodriguez”), Appellant, was indicted in the

District of Nebraska for possessing with intent to distribute 50 grams or more of a

mixture or substance containing a detectable amount of methamphetamine.

Rodriguez filed a Motion to Suppress, which was heard before the Magistrate

Judge. The Magistrate Judge recommended to the District Court that the Motion to

Suppress be denied in all respects. Rodriguez objected to the Findings and

Recommendations of the Magistrate Judge.

      The District Court overruled Rodriguez’s objection and denied the Motion to

Suppress. Pursuant to a plea agreement, Rodriguez entered a conditional plea of

guilty to the Indictment. The conditional plea preserved Rodriguez’s right to

appeal the District Court’s order denying the Motion to Suppress. Rodriguez now

appeals the denial of his Motion to Suppress

      The United States suggests that the briefs submitted by the Appellant and the

Appellee sufficiently apprise the Court of the issues presented by this appeal. The

United States further suggests that oral argument is not necessary to decide this

matter. However, should the Court deem it appropriate to hear oral argument, the

United States would respectfully submit that ten (10) minutes would be sufficient.




                                          i


   Appellate Case: 13-1176    Page: 2    Date Filed: 06/07/2013 Entry ID: 4043447
                                          TABLE OF CONTENTS

                                                                                                                           Page

SUMMARY OF THE CASE......................................................................................i

TABLE OF CONTENTS.......................................................................................... ii

TABLE OF AUTHORITIES ................................................................................... iii

JURISDICTIONAL STATEMENT .........................................................................iv

STATEMENT OF THE ISSUES...............................................................................v

STATEMENT OF THE CASE..................................................................................1

STATEMENT OF FACTS ........................................................................................2

SUMMARY OF ARGUMENT .................................................................................8

ARGUMENT

        I.        THE DURATION OF THE DETENTION FOLLOWING
                  THE TRAFFIC STOP WAS DE MINIMIS AND DID NOT
                  VIOLATE THE FOURTH AMENDMENT.
         .........................................................................................................................8

        II.       THE DURATION OF THE DETENTION WAS NOT
                  UNREASONABLE AS REASONABLE SUSPICION
                  EXISTED.
         .......................................................................................................................15

CONCLUSION........................................................................................................20

CERTIFICATION OF WORDPROCESSING .......................................................21

CERTIFICATE OF SERVICE ................................................................................21


                                                               ii


    Appellate Case: 13-1176                  Page: 3          Date Filed: 06/07/2013 Entry ID: 4043447
                                                  Cases

United States v. Linkous, 285 F.3d 716 (2002).......................................................14

United States v. $404,905 in U.S. Currency,
182 F.3d 643 (8th Cir. 1999) .................................................................. 9, 11, 14, 16

United States v. Alexander, 448 F.3d 1014 (8th Cir. 2006) ......................................9

United States v. Beck, 140 F.3d 1129 (8th Cir. 1998).............................................16

United States v. Bloomfield, 40 F.3d 910 (8th Cir. 1994).......................................17

United States v. Farnell, 701 F.3d 256 (8th Cir. 2012) .............................................8

United States v. Mabery, 686 F.3d 591 (8th Cir. 2012) ..........................................15

United States v. Mohamed, 600 F.3d 1000 (8th Cir. 2010) ....................... 10, 14, 15

United States v. Morgan, 270 F.3d 625 (8th Cir. 2001) ................................... 10, 13

United States v. Newell, 596 F.3d 876 (8th Cir. 2010) ...........................................16

United States v. Olivera-Mendez, 484 F.3d 505 (8th Cir. 2007) ............................16

United States v. Quintero-Felix, ---F.3d ---, 2013 WL 1810606 (8th Cir. 2013)....16

United States v. Robinson, 455 F.3d 832 (8th Cir. 2006) .......................................14
                                                 Statutes

Title 21, United States Code, Sections 841(a)(1) ......................................................1




                                                     iii


    Appellate Case: 13-1176           Page: 4        Date Filed: 06/07/2013 Entry ID: 4043447
                       JURISDICTIONAL STATEMENT

      The decision below was reached by the Honorable Joseph F. Bataillon,

District Court Judge for the District of Nebraska, in case number 8:12-CR-00170.

The jurisdiction of the District Court was based on 18 U.S.C. § 3231. The final

judgment below was entered on January 7, 2013. (District Court Docket 83,

hereinafter “DCD”).

      Rodriguez timely filed a Notice of Appeal on January 17, 2013. (DCD 87).

This Court has jurisdiction pursuant to 28 U.S.C. § 1291 to hear this appeal.




                                         iv


   Appellate Case: 13-1176    Page: 5    Date Filed: 06/07/2013 Entry ID: 4043447
                    STATEMENT OF THE ISSUES

   I.    WHETHER THE DISTRICT COURT CORRECTLY
         DETERMINED THAT THE DURATION OF THE
         DETENTION FOLLOWING THE TRAFFIC STOP WAS
         DE MINIMIS WHICH DID NOT VIOLATE THE
         FOURTH AMENDMENT.

         United States v. $404,905 in U.S. Currency, 182 F.3d 643 (8th Cir.
         1999)
         United States v. Alexander, 448 F.3d 1014 (8th Cir. 2006)
         United States v. Morgan, 270 F.3d 625 (8th Cir. 2001)


   II.   WHETHER REASONABLE SUSPICION EXISTED
         JUSTIFYING THE DURATION OF THE DETENTION
         FOLLOWING THE TRAFFIC STOP.

         United States v. Beck, 140 F.3d 1129 (8th Cir. 1998).
         United States v. Quintero-Felix, ---F.3d ---, 2013 WL 1810606 (8th
         Cir. 2013)




                                     v


Appellate Case: 13-1176   Page: 6   Date Filed: 06/07/2013 Entry ID: 4043447
                   STATEMENT OF THE CASE

      On May 22, 2012, the Grand Jury sitting in the District of Nebraska returned

an Indictment charging the Appellant, Dennys Rodriguez, with knowingly and

intentionally possessing with intent to distribute 50 grams or more of a mixture or

substance containing a detectable amount of methamphetamine, in violation of

Title 21, United States Code, Sections 841(a)(1) and (b)(1). (DCD 1). Rodriguez

was arraigned before United States Magistrate Judge F.A. Gossett III on May 30,

2012, and entered a plea of not guilty. (DCD 18).

      On June 19, 2012, Rodriguez filed a Motion to Suppress. (DCD 23). United

States Magistrate Judge F.A. Gossett heard the Motion to Suppress on July 10,

2012. (DCD 34). Following the hearing, the Magistrate Judge issued his Findings

and Recommendation suggesting that the Motion to Suppress be denied in all

respects. Id. Rodriguez objected to the Findings and Recommendations. (DCD

40). On August 30, 2012, the District Court overruled Rodriguez’s objections and

denied the motion. (DCD 43).

      On September 28, 2012, Rodriguez appeared before the District Court and

entered a conditional plea of guilty to the Indictment. (DCD 56). The guilty plea

was entered pursuant to a plea agreement. Id. The plea preserved Rodriguez’s

right to appeal the District Court’s denial of the Motion to Suppress. (DCD 59).


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   Appellate Case: 13-1176    Page: 7    Date Filed: 06/07/2013 Entry ID: 4043447
On January 4, 2013, Rodriguez was sentenced by the District Court to a sixty (60)

month term of imprisonment, followed by four (4) years of supervised release.

(DCD 83). The Judgment in this matter was entered on January 7, 2013. Id.

Rodriguez appeals the District Court’s Memorandum and Order denying the

Motion to Suppress.

                                STATEMENT OF FACTS

         On March 27, 2012, K-9 Officer Morgan Struble (hereinafter “Struble”)

with the Valley Police Department was on patrol westbound on Highway 275.

(DCD 37, Transcript for Motion to Suppress, p. 4, hereinafter “TR.”). Near the

intersection of Highway 275 and 276th Street, Struble observed a Mercury

Mountaineer drive onto the shoulder of the roadway. (TR. at p. 4). The

Mountaineer was traveling westbound in the outside lane. (TR. at p. 5). The

Mountaineer veered slowly onto the shoulder, as if the driver was not paying

attention, then “jerked” back onto the roadway. (TR. at p. 5). The Mountaineer’s

passenger side tires crossed over the marked line for several seconds. (TR. p. at 5-

6).

         A traffic stop was conducted and the driver was identified as Rodriguez and

the passenger as Scott Pollman (hereinafter “Pollman”). (TR. at p. 6). The traffic

stop occurred at approximately 12:06 a.m. (TR. at p. 12). During the initial


                                           2


      Appellate Case: 13-1176    Page: 8   Date Filed: 06/07/2013 Entry ID: 4043447
encounter, Struble noticed an “overwhelming” odor of air freshener emanating

from the Mountaineer. (TR. at p. 6). Struble testified that in his experience, the

overwhelming odor of air freshener was an indicator of illicit activity. (TR. at p. 7).

Pollman appeared exceedingly nervous and had his hat pulled down over his eyes,

looking straight ahead, and would not make eye contact. (TR. at p. 7, 19).

Pollman’s nervousness was noteworthy because he was merely a passenger in the

vehicle. (TR. at p. 19).

       During the traffic stop, Rodriguez was asked to sit in the patrol vehicle while

a record check was conducted. (TR. at p. 8). Rodriguez refused. (TR. at p. 9).

Rodriguez stated that he would rather sit in his own vehicle. Id. This was the first

time, in Struble’s experience, that someone was “so adamant” against sitting in the

patrol vehicle. (TR. at p. 9). This was significant to Struble as it appeared that

Rodriguez did not want to be far from the Mountaineer or its contents. (TR. at p.

35).

       After running a records check, Struble returned to the Mountaineer and

spoke with Pollman. (TR. at p. 9). Pollman stated that he and Rodriguez were

coming back from Omaha, Nebraska, to Norfolk, Nebraska. (TR. at p. 10). The

purpose of the trip was to look into purchasing a vehicle in Omaha, Nebraska. Id.

Pollman admitted that he had not seen any photographs of the vehicle prior to


                                           3


   Appellate Case: 13-1176     Page: 9    Date Filed: 06/07/2013 Entry ID: 4043447
making the trip. (TR. at p. 11). Struble found it significant that the two would be

driving from Norfolk to Omaha on a Tuesday night, returning after midnight, to go

look at a vehicle that neither had seen a picture of. Id. Pollman stated that he did

not buy the vehicle because the seller did not have a title to the vehicle. (TR. at p.

41). Struble found it significant that the two would make the trip without knowing

this in advance. (TR. at p. 45). It did not appear to Struble that Rodriguez and

Pollman had thought of a good cover story in the event that they were pulled over.

(TR. at p. 46).

      At 12:19 a.m., a backup officer was requested. (TR. at p. 12). Struble was

concerned about his safety. (TR. at p. 51). There were two occupants of the

Mountaineer. (TR. at p. 51). It was after midnight on a rural state highway. (TR. at

p. 4). Valley, Nebraska, is a small town with only four full time officers and five

part-time officers. (TR. at p. 19). The stretch of highway that ran through Valley,

Nebraska, was only a couple of miles. (TR. at p. 22). Struble was alone.

      At 12:25 a.m., the data checks were completed and Struble wrote a warning

ticket. (TR. at p. 13). Struble returned to the Mountaineer and gave the ticket to

Rodriguez. (TR. at p. 12). It took approximately 2-3 minutes for Struble to issue

and explain the warning ticket to Rodriguez. (TR. at p. 13-14). Struble indicated

that it would have been approximately 12:27 or 12:28 a.m. when the warning ticket


                                           4


  Appellate Case: 13-1176     Page: 10     Date Filed: 06/07/2013 Entry ID: 4043447
was issued. Id.

       Following the issuance of the warning ticket, Rodriguez was asked if

Struble’s K-9 could walk around the Mountaineer. (TR. at p. 14). The K-9, Floyd,

was in Struble’s patrol vehicle during the traffic stop. (TR. at p. 16). Rodriguez

did not consent to the K-9 walking around the Mountaineer. (TR. at p. 14).

Rodriguez was asked to exit the Mountaineer. (TR. at p. 14). Rodriguez stated that

he was going to roll the windows up, and after doing so he exited the vehicle. (TR.

at p. 14).

       Struble waited for the backup officer to arrive before walking Floyd around

the Mountaineer. (TR. at p. 58). Deputy Duchelus with the Douglas County

Sheriff’s Office arrived at 12:33 a.m. (TR. at p. 16). It took 45 seconds to one

minute for Struble to remove Pollman from the Mountaineer and retrieve Floyd

from the patrol vehicle. (TR. at p. 17). Floyd was then led around the

Mountaineer. Id. Approximately 20 to 30 seconds later Floyd alerted and indicated

to the presence of narcotics inside the Mountaineer 1. (TR. at p. 17-18). No more

than seven or eight minutes had passed between the issuance of the warning ticket

and Floyd’s indication. (TR. at p. 18, 78).


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        Rodriguez stipulated to Floyd’s qualifications and did not challenge the K-
9’s search. (TR. at p. 15).

                                          5


  Appellate Case: 13-1176     Page: 11    Date Filed: 06/07/2013 Entry ID: 4043447
       After Floyd indicated to the presence of narcotics inside the Mountaineer,

the Mountaineer was searched. Id. During the search, a large bag of

methamphetamine was found. Id.

       On May 22, 2012, the Grand Jury sitting in the District of Nebraska returned

an Indictment charging Rodriguez with knowingly and intentionally possessing

with intent to distribute 50 grams or more of a mixture or substance containing

methamphetamine. (DCD 1). Rodriguez was arraigned before United States

Magistrate Judge F.A. Gossett III on May 30, 2012, and entered a plea of not

guilty. (DCD 18).

       On June 19, 2012, Rodriguez filed a Motion to Suppress. (DCD 23). United

States Magistrate Judge F.A. Gossett heard the Motion to Suppress on July 10,

2012. (DCD 34). Following the hearing, the Magistrate Judge issued his Findings

and Recommendation suggesting that the Motion to Suppress be denied in all

respects. Id. Rodriguez objected to the Findings and Recommendations. (DCD

40).

       On August 30, 2012, the District Court overruled Rodriguez’s objections

and denied the motion. (Appellate Add. at 11). The District Court found that the

detention following the traffic stop was de minimis. (Appellate Add. at 10).

“Officer Struble requested backup for officer safety. The backup officer responded


                                         6


  Appellate Case: 13-1176    Page: 12     Date Filed: 06/07/2013 Entry ID: 4043447
in a short period of time. Officer Struble had his K-9 in his car and conducted the

search immediately thereafter.” Id. The District Court concluded that the total time

of the detention following the traffic stop was no more than seven to ten minutes.

Id. The District Court found that this time was de minimis and that no

constitutional violation had occurred. Id.




                                             7


  Appellate Case: 13-1176     Page: 13       Date Filed: 06/07/2013 Entry ID: 4043447
                          SUMMARY OF ARGUMENT

      The District Court did not err in its conclusion that the duration of the traffic

stop was de minimis. Struble’s K-9 was present at the scene and was readily

deployable. Struble exercised caution by waiting a few minutes in order for a

backup officer to arrive. This was a reasonable precaution by Struble as he was

alone on a rural highway after midnight with the two occupants of the

Mountaineer. From the time the traffic stop was completed to the time that the K-9

indicated to the presence of narcotics was no more than seven or eight minutes.

                                   ARGUMENT

      I.      THE DURATION OF THE DETENTION FOLLOWING
              THE TRAFFIC STOP WAS DE MINIMIS AND DID NOT
              VIOLATE THE FOURTH AMENDMENT.

              A.   STANDARD OF REVIEW.

      A district court’s denial of a motion to suppress is reviewed under a two-

pronged framework: factual findings are reviewed for clear error, and legal

conclusions are reviewed de novo. United States v. Farnell, 701 F.3d 256, 260 (8th

Cir. 2012).

              B.   ARGUMENT.

      The District Court did not err when it concluded that the duration of the

traffic stop was de minimis. Struble’s K-9 was readily deployable. The time from


                                          8


  Appellate Case: 13-1176     Page: 14     Date Filed: 06/07/2013 Entry ID: 4043447
the end of the traffic stop to the indication by the K-9 was no more than seven or

eight minutes. Struble could have deployed his K-9 immediately, but for safety

concerns chose to wait a few extra minutes until backup arrived. This decision was

reasonable under the circumstances and did not unnecessarily delay Rodriguez.

      “When a police officer makes a traffic stop and has at his immediate

disposal the canine resources to employ this uniquely limited investigation

procedure, it does not violate the Fourth Amendment to require that the offending

motorist’s detention be momentarily extended for a canine sniff of the vehicle’s

exterior.” United States v. $404,905 in U.S. Currency, 182 F.3d 643, 649 (8th Cir.

1999). “Dog sniffs that occur within a short time following the completion of a

traffic stop are not constitutionally prohibited if they constitute only de minimis

intrusions.” United States v. Alexander, 448 F.3d 1014, 1016 (8th Cir. 2006).

       The dividing line separating a constitutionally prohibited detention and a de

minimis detention is artificial, and the “constitutional standard is reasonableness

measured by the totality of the circumstances.” $404,905 in U.S. Currency, 182

F.3d at 649. This Court has found that in cases where the K-9 is already present

and the time of the search lasted mere minutes, the seizure was de minimis. See

$404,905 in U.S. Currency, 182 F.3d at 649 (two minute delay to conduct canine

sniff was de minimis); Alexander, 448 F.3d at 1016 (four minute delay to conduct


                                          9


  Appellate Case: 13-1176     Page: 15     Date Filed: 06/07/2013 Entry ID: 4043447
canine sniff was de minimis); United States v. Mohamed, 600 F.3d 1000, 1005 (8th

Cir. 2010)(five minute delay to conduct canine sniff was de minimis).

      In United States v. Morgan, 270 F.3d 625 (8th Cir. 2001), a traffic stop was

conducted on a van in which Morgan was a passenger. Id. at 627-628. The officer

conducting the traffic stop was accompanied by his drug detection K-9. Id. at 628.

Following the completion of the traffic stop, the officer ran his K-9 around the

exterior of the van, which alerted to the presence of narcotics. Id. The total time

between the completion of the traffic stop and the K-9’s alert to the narcotics was

unclear, but it was “something less than 10 minutes”. Id.

      The Court in Morgan addressed whether the length of the time it took to

conduct the K-9 search following the traffic stop violated the Fourth Amendment.

In doing so, this Court considered two possible exceptions. “The first question is

whether [the officer] had a reasonable, articulable suspicion of criminal activity

beyond the reason for which he stopped the van.” Id. at 631. It was determined

that reasonable suspicion did exist. Id. However, the analysis did not end there.

Despite finding that reasonable suspicion existed, the Court continued its analysis

by next examining whether the delay was de minimis:

      Even if the facts had not been sufficient for reasonable suspicion, however, a
      short detention for a dog sniff would not violate the Fourth Amendment. See
      $404,905 in U.S. Currency, 182 F.3d at 647-49 (two minute delay for a dog


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  Appellate Case: 13-1176     Page: 16    Date Filed: 06/07/2013 Entry ID: 4043447
      sniff a de minimis intrusion). Here, the dog was at the scene from the
      beginning, and it only took a short time to walk the dog over to the van
      where it alerted to the presence of drugs. The exact number of minutes is
      uncertain, but [the officer] testified that ‘well under ten minutes’ passed
      between the end of his conversation with Morgan and the dog alerting to the
      marijuana. We do not believe that the few minutes difference between the
      time in this case and $404,905 has constitutional significance. The delay
      caused by conducting the dog sniff did not violate the Fourth Amendment.

Id at 631-632.

      In the present case, the time between the conclusion of the traffic stop and

the discovery of probable cause was approximately seven or eight minutes. The

delay was less than ten minutes. When considering just the time alone, this clearly

falls within the constitutional standards of reasonableness. However, the totality of

the circumstances must also be addressed in any measurement. See $404,905 in

U.S. Currency, 182 F.3d at 649. The totality of the circumstances further

demonstrate that the detention was reasonable.

      Officer Struble, a small town police officer, was working alone. It was after

midnight on a rural highway. When he approached the Mountaineer, he noticed an

overwhelming odor of air freshener. There were two occupants of the

Mountaineer. As a passenger, Pollman was exceedingly nervous with his hat

pulled down low over his eyes, and he would not make eye contact with Struble.

Pollman’s story that they drove the distance between Norfolk, Nebraska, and



                                         11


  Appellate Case: 13-1176    Page: 17     Date Filed: 06/07/2013 Entry ID: 4043447
Omaha, Nebraska, a two hour drive, to purchase a vehicle that he had not at least

seen a picture of seemed incredulous. Moreover, Rodriguez was returning after

midnight. It also did not make any sense that he made the trip to buy the vehicle

without first knowing that the vehicle was ready to sell. Struble found this all hard

to believe, because with “technology these days, it’s pretty easy” to obtain this

information. (TR. at p. 45).

      In addition, Rodriguez did not want to leave the Mountaineer when asked to

accompany Struble to the police cruiser. Rodriguez also wanted to be sure he

rolled the Mountaineer’s windows up prior to any K-9 sniff occurring. Under the

circumstances, it was reasonable and prudent for Struble to wait until another

officer arrived prior to him removing both occupants from the Mountaineer to

begin the K-9 sniff.

      The nearest available officer was a county sheriff’s deputy. When this

backup officer arrived, Struble was able to remove Pollman from the Mountaineer

and place him where the other officer could watch him. With both Rodriguez and

Pollman out of the vehicle and being watched, Struble could then retrieve his K-9

and concentrate on walking the K-9 around the Mountaineer. Struble could have

commenced the K-9 search immediately following the conclusion of the traffic

stop, but the circumstances, including safety concerns, where such that it was


                                          12


  Appellate Case: 13-1176      Page: 18   Date Filed: 06/07/2013 Entry ID: 4043447
reasonable to wait a few minutes until the backup officer arrived. The overall

delay of seven or eight minutes was reasonable when measured by the totality of

the circumstances.

      Rodriguez argues that Morgan is inapplicable as the “less than ten minutes”

is nothing more than dicta. (Appellant’s Br. at 14). This is incorrect. Whether the

delay was de minimis was an issue raised in the appeal. Morgan, 270 F.3d at 629.

At the outset of its analysis, the Court acknowledged that it was considering more

than just reasonable suspicion as an exception (“the first question”). Id. at 631. In

addition, the Court as a whole (“we”) determined that “under ten minutes” did not

amount to an unreasonable delay2. Id. Finally, the Court was clear in finding that

the delay “did not violate the Fourth Amendment.” Id.

      Rodriguez also argues that the time was unknown and unimportant to the

decision in Morgan. (Appellant’s Br. at 14). This is not correct. The time defined

by Morgan was “less than ten minutes”. In fact, the Eighth Circuit has cited

Morgan for the proposition that “less than ten minutes” was de minimis. In United

States v. Linkous, under similar circumstances (involving a traffic stop, reasonable

suspicion, and a K-9 search), the Court found that “a short detention for a dog sniff


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        There was a dissenting opinion, however, this issue was not addressed in
the dissent.

                                         13


  Appellate Case: 13-1176     Page: 19    Date Filed: 06/07/2013 Entry ID: 4043447
after the completion of a traffic stop does not violate the Fourth Amendment.” 285

F.3d 716, 721 (2002). In making this conclusion, the Court cited $404,905 in U.S.

Currency (“two minute delay for a dog sniff was a de minimis intrusion”), and

Morgan (“same conclusion for a delay of less than ten minutes”). Id. See also

United States v. Robinson, 455 F.3d 832, 834 (8th Cir. 2006) (citing Morgan, “we

have upheld seizures of less than ten minutes de minimis intrusions that do not

amount to an unreasonable seizure”). Rodriguez’s argument that “less than ten

minutes” is dicta is without merit.

      Rodriguez also relies on United States v. Mohamed, 600 F.3d 1000 (8th Cir.

2010), which is another de mininis case with a post-traffic stop detention time of

approximately 5 minutes. Rodriguez asserts that Mohamed introduces the

proposition that “reasonable suspicion creates the rule of reasonableness which is

necessary to determine whether there is a de minimis intrusion.” (Appellant’s Br. at

16). According to Rodriguez, this requires a showing that in order for a de minimis

intrusion to be reasonable, there must be reasonable suspicion. Id. Pursuant to this

proposition, Rodriguez argues that in the present case the detention could not be de

minimis because reasonable suspicion was not established. Id.

      Rodriguez’s interpretation is incorrect. First, as it relates to reasonableness,

Mohamed reiterates that because the detention arose out of a traffic stop, “the


                                         14


  Appellate Case: 13-1176     Page: 20    Date Filed: 06/07/2013 Entry ID: 4043447
general rule of balancing for reasonableness should be applied.” Mohamed, 600

F.3d at 1005. Citing cases such as Alexander and $404,905.00 in US Currency, the

Court in Mohamed stated that “when a dog sniff occurs after a very short lapse of

time from when the purpose of the traffic stop has been completed, there is a de

minimis intrusion, and therefore, under the general rule of reasonableness, the stop

does not violate the Fourth Amendment.” Id. There is no requirement for

reasonable suspicion mentioned in Mohamed. As such, Rodriguez’s assertion, that

reasonable suspicion is necessary for a de minimis detention, is without merit.

      III.   THE DURATION OF THE DETENTION WAS NOT
             UNREASONABLE AS REASONABLE SUSPICION
             EXISTED.

             A.     STANDARD OF REVIEW.

      The denial of a motion to suppress is reviewed de novo but the underlying

factual determinations are reviewed for clear error, giving due weight to inferences

drawn by law enforcement. United States v. Mabery, 686 F.3d 591, 595 (8th Cir.

2012).

             B.     ARGUMENT.

      During the course of the traffic stop, Struble developed a reasonable,

articulable suspicion of criminal activity. As a result, the brief detention following

the traffic stop did violate the Fourth Amendment.


                                          15


  Appellate Case: 13-1176     Page: 21    Date Filed: 06/07/2013 Entry ID: 4043447
      Following a traffic stop, an officer “may detain the offending motorist while

the officer completes a number of routine but somewhat time-consuming tasks

related to the traffic violation.” $404,905 in U.S. Currency, 182 F.3d at 647.

“However, once an officer finishes these tasks, the purpose of the traffic stop is

complete and further detention of the driver or vehicle would be unreasonable,

unless something that occurred during the traffic stop generated the necessary

reasonable suspicion to justify further detention or unless the continued encounter

is consensual.” United States v. Quintero-Felix, --- F.3d ---, 2013 WL 1810606

(8th Cir. 2013) (internal quotation and citation omitted). “Whether a particular

detention is reasonable in length is a fact-intensive question.” United States v.

Olivera-Mendez, 484 F.3d 505, 510 (8th Cir. 2007). Individual factors consistent

with innocent travel can, when taken together under the totality of the

circumstances, give rise to reasonable suspicion. United States v. Beck, 140 F.3d

1129, 1137 (8th Cir. 1998). Investigatory detentions must be reasonably necessary

and limited in scope and duration. United States v. Newell, 596 F.3d 876, 879 (8th

Cir. 2010).

      In the present case, Struble had made several significant observations that, in

his training and experience, gave him reasonable, articulable suspicion that a crime

was being committed. During the initial contact the vehicle had an overwhelming


                                          16


  Appellate Case: 13-1176     Page: 22    Date Filed: 06/07/2013 Entry ID: 4043447
odor of air fresheners. Pollman was uncommonly nervous, which was more

significant considering that Pollman was the passenger. Pollman had his hat pulled

down over his eyes and looked straight ahead, and it appeared that Pollman was

trying to avoid eye contact. While a driver might be nervous because of the

possibility of receiving a ticket, there is no reason for a passenger to be nervous, let

alone uncommonly nervous. See United States v. Bloomfield, 40 F.3d 910, 918-19

(8th Cir. 1994) (“although it is customary for people to be ‘somewhat nervous’

when stopped by police, extreme nervousness may contribute to an officer’s

reasonable suspicion).

      It also seemed incredible that Rodriguez and Pollman would travel several

hours late at night to buy a vehicle when neither had seen a picture of the vehicle

or determined that the vehicle was in fact ready to be sold. In addition, the

behavior of Rodriguez was not typical. While it was not required for Rodriguez to

sit in his patrol vehicle, it was also the first time that anyone refused. In addition,

after Struble informed Rodriguez that he was going to deploy his K-9, Rodriguez

made sure that the windows were rolled up on the Mountaineer. Thus it appeared

Rodriguez was attempting to conceal odors detectable to a narcotics K-9.




                                           17


  Appellate Case: 13-1176      Page: 23     Date Filed: 06/07/2013 Entry ID: 4043447
        Rodriguez argues that reasonable suspicion did not exist, and points to the

Magistrate Judge’s findings3. The Magistrate Judge found that reasonable

suspicion did not exist. However, the Magistrate Judge only briefly discussed a

few of the factors that were known to Struble. When recognizing that Pollman was

nervous, the Magistrate Judge did not mention the extent of Pollman’s

nervousness. (Appellant’s Add. at 13). The Magistrate Judge also did not attach

any significance to the fact that Pollman was the passenger, in which there is no

reasonable explanation why a passenger would be so nervous.

        Additionally, the Magistrate Judge only briefly discussed the purpose of the

trip:

        Then he comes back up and has an exchange with the passenger, and there’s
        information given about [the] purchase of a vehicle in Omaha and several
        items about that and the information about the purchase in Omaha make[s]
        Officer Struble suspicious…

(Appellant’s Br. at 14). The Magistrate Judge did not mention that Rodriguez and

Pollman made the long trip purportedly to purchase a vehicle having never seen a

picture of the vehicle nor having ever determined that the vehicle was in fact ready

to be sold. These are significant factors which were not addressed.



        3
       The District Court did not address this issue after finding that the detention
following the traffic stop was de minimis.

                                          18


   Appellate Case: 13-1176     Page: 24    Date Filed: 06/07/2013 Entry ID: 4043447
      Finally, the Magistrate Judge did not address Rodriguez’s rolling up the

Mountaineer’s windows after being informed that Struble was going to deploy his

K-9. Again, there is no reasonable explanation why Rodriguez wanted the

windows rolled up, other than to attempt to diminish any odor associated with

criminal activity that the K-9 might detect. Taking this into consideration along

with the fact that there was an overwhelming odor of air fresheners is very

significant.

      All of the factors, under the totality of the circumstances, gave rise to

reasonable suspicion. The detention was limited in scope and duration, and lasted

only long enough in order for Struble to dispel or confirm his suspicions. The

detention following the traffic stop was permissible and not prohibited by the

Fourth Amendment.




                                         19


  Appellate Case: 13-1176     Page: 25    Date Filed: 06/07/2013 Entry ID: 4043447
                               CONCLUSION

      For the above reasons, the District Court’s Memorandum and Order denying

Rodriguez’s Motion to Suppress should be affirmed.




                                             Respectfully submitted,

                                             UNITED STATES OF AMERICA

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                                        20


  Appellate Case: 13-1176   Page: 26     Date Filed: 06/07/2013 Entry ID: 4043447
     CERTIFICATION OF WORD PROCESSING AND VIRUS SCAN

       The undersigned certifies that pursuant to Eighth Circuit Rule of Appellate
Procedure 28A(h)(2), the brief has been scanned for viruses and that it is virus-
free. The brief was created using MicroSoft Word 2010

Dated this __7th_____ day of June, 2013


                                              __s/Martin J. Conboy, IV_____
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                         CERTIFICATE OF SERVICE

       I hereby certify that on June 7 , 2013, I electronically filed the foregoing
with the Clerk of the Eighth Circuit Court of Appeals using the CM/ECF system
which sent notification of such filing to the following:



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                                         21


  Appellate Case: 13-1176    Page: 27     Date Filed: 06/07/2013 Entry ID: 4043447
